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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIR E

WILLIAM D . HILTON, )
                                                    )
        Plaintiff,                               )
                                                 )
        V.        )   Civil                     No .             07-cv-292-JM

                                        )
JEANNE M . CHAREST, ARNP ; COOS )
COUNTY FAMILY HEALTH SERVICES, INC . ; )
and ANDROSCOGGIN VALLEY HOSPITAL, )
                                        )
        Defendants .                   )
                                        )

                          NOTICE OF REMOVAL OF CIVIL ACTIO N

        The United States of America, on behalf of itself and defendants Jeanne M. Charest,

ARNP, and Coos County Family Health Services, Inc. (CCFHS), removes the above case for the

following reasons :

        1 . Jeanne M . Charest and CCFHS are defendants in a civil action now pending in

Hillsborough County North Superior Court, New Hampshire, No . 07-G0237, entitled William

Donald Hilton v . Jeanne M . Charest, ARNP ; Coos County Family Health Services, Inc ., and

Androscoggin Valley Hospital . CCFHS is a grantee of the United States Department of Health

and Human Services . Jeanne M . Charest is an employee of Coos County Family Health

Services, Inc .

        2. No trial has been scheduled in this matter . A copy of the Writ of Summons is

attached as Exhibit A .

        3. This removal is brought purusant to 42 U .S.C. § 233(c), 28 U .S .C. § 2679(d), 28

U.S .C. §§ 1441, 1442(a)(1) and 1446 . The action commenced against the defendants in state

court is a civil action in connection with acts allegedly done by defendant CCFHS, a grantee of
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the U .S . Department of Health and Human Services, and Jeanne M . Charest, ARNP, an

employee of CCFHS .

        4. Coos County Family Health Services, Inc ., is an entity which receives federal

grant money from the United States Public Health Services pursuant to 42 U .S.C. §§ 254b, 254c,

256, or 256a. Pursuant to 42 U .S.C. § 233(h), the United States Department of Health and

Human Services has deemed CCFHS and its employees, who are health care practitioners, to be

employees of the federal government only for purposes of coverage under the Federal Tort

Claims Act, 28 U .S.C. §§ 2671, et sec ., effective for acts and omissions on or after October 1,

1995.

        5. Jeanne M . Charest, ARNP, was an employee of CCFHS at all times relevant to

the allegations contained in the plaintiffs complaint.

        6. The Attorney General of the United States, by the United States Attorney for the

District of New Hampshire, has certified, pursuant to 42 U .S.C. § 233(c) and 28 U .S.C.

§ 2679(d), that Coos County Family Health Services, Inc . was an entity receiving federal grant

money from the United States Public Health Service pursuant to 42 U .S.C. §§ 254b, 254c, 256,

or 256a at the time of the incidents alleged in the complaint and was acting within the scope of

its deemed employment as an employee of the United States of America for purposes of the

Federal Tort Claims Act, at the time of the incidents alleged in the Writ . . See Certification of

Thomas P. Colantuono, United States Attorney, attached as Exhibit C, at ¶ 3 .

        7 . United States Attorney Colantuono has also certified that ARNP Jeanne M .

Charest was acting within the scope of her deemed employment as an employee of the United

States of America, for purposes of the Federal Tort Claims Act, at the time of the incidents

alleged in the complaint . Colantuono Certification at ¶ 4 .
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        8 . Both 42 U .S.C. § 233(c) and 28 U .S.C. § 2679(d)(2) provide that upon

certification by the Attorney General, any civil action or proceedings commenced in state court

shall be removed without bond at any time before trial by the Attorney General to the district

court of the United States of the district and division embracing the place in which the action or

proceeding is pending, and that the action or proceeding shall be deemed to be an action or

proceeding against the United States under the provisions of Title 28 and all references thereto .

        9 . The above-captioned action is one which may be removed without bond to this

Court pursuant to 28 U .S.C. § 2679(d) for the reason that the plaintiff seeks judgment for

damages allegedly resulting from actions performed by defendants CCFHS and Jeanne M .

Charest while acting within the scope of their deemed employment with the United States of

America. Remedy by suit within the meaning of 28 U .S .C. § 2679(b) is, therefore, available to

the plaintiff against the United States of America.

        10. This Notice is predicated on the federal defense that CCFHS and Jeanne M .

Charest are entitled to have the United States of America substituted as the party defendant

pursuant to 28 U .S.C. § 2679 .
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       Therefore, this action now pending in Hillsborough County North Superior Court is

properly removed from that court to this Court, pursuant to 42 U.S.C. § 233(d), 28 U.S .C.

§ 2679(d), 28 U.S .C. §§ 1441, 1442(a)(1) and 1446 .


                                                               /s/ Gretchen Leah Wit t

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